
Hall, J.
A general warranty of title in a deed against the claims “of all persons whatever” covers defects in the title though known to the purchaser at the time of taking the deed; and where the purchaser has been evicted from land by a judgment in ejectment, he can maintain suit against his vendor for a breach of the coyenant included in such a warranty, although at the time of taking the conveyance, or before he knew or was informed of defects in the title of his immediate feoffor. Nor can an intention to except defects known to the vendee be shown by parol. 46 Ga., 316 ; 47 Id., 516; Code §§2703, 2702.
(a) The obiter dictum in Skinner vs. Moye, 69 Ga., 476, corrected.
(b) Section 2655 of the Code is to be construed in connection with its context (§2651), and refers to general warranties in the sale of personal property,'and to such defects in the quality or condition thereof' as are apparent, and not to flaws in the title.
Judgment affirmed.
